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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   MATTHEW HUFFMAN, et al.,                            Case No.: 20-cv-2514-H-DEB
12                                      Plaintiff,
                                                         ORDER GRANTING JOINT
13   v.                                                  MOTION TO CONTINUE
     SAN DIEGO FAMILY HOUSING, LLC,                      PROCEEDINGS
14
     et al,
15                                                       [Doc. No. 29.]
                                     Defendants.
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           On November 24, 2020, Plaintiffs Matthew Huffman; April Huffman; A.H, a minor,
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     by and through his guardian ad litem, Donna Sue Combs; L.H., a minor, by and through
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     his guardian ad litem, Donna Sue Combs; and M.H., a minor, by and through his guardian
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     ad litem, Donna Sue Combs (“Plaintiffs”) filed a complaint against Defendants San Diego
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     Family Housing, LLC and Lincoln Military Property Management LP (“Defendants”) in
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     the Superior Court for the County of San Diego. (Doc. No. 1.) On December 30, 2020,
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     Defendants filed a notice of removal to this Court. (Id.) On January 6, 2021, Defendants
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     filed their answer to Plaintiffs’ complaint. (Doc. No. 2.) On July 28, 2021, Defendants filed
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     a motion to dismiss Plaintiffs’ complaint pursuant to Federal Rule of Civil Procedure
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     12(b)(1). (Doc. No. 23.) A hearing for Defendants’ motion is currently scheduled for
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     October 25, 2021.
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 1         On September 29, 2021, the parties filed a joint motion to continue the proceedings
 2   for ninety (90) days. (Doc. No. 29.) The parties seek to continue the proceedings to pursue
 3   a global settlement of this case and four similar cases pending in this District, Lopez, et al.
 4   v. San Diego Family Housing, et al., Case No. 20-cv-1915-JAH-AGS; Spangler, et al. v.
 5   San Diego Family Housing, et al., Case No. 20-cv-2287-W-AGS; Vincent et al. v. San
 6   Diego Family Housing, et al., Case No. 20-cv-01794-LAB-AGS. (Id. at 2.) The parties also
 7   seek to continue the proceedings to allow for the issuance of an opinion by the Ninth Circuit
 8   in Childs v. San Diego Family Housing, LLC, et al., Case No. 20-56049, which addresses
 9   an issue relevant to Defendants’ pending motion to dismiss. (Id. at 2-3.)
10         After considering the relevant factors, the Court, exercising its sound discretion,
11   grants the parties’ request to continue the proceedings. See Keating v. Office of Thrift
12   Supervision, 45 F.3d 322, 324–25 (9th Cir. 1995). The Court continues all dates and
13   deadlines for ninety (90) days from the date this order is filed. The parties are ordered to
14   file a joint status report with the Court no later than December 27, 2021 to inform the Court
15   of the status of the settlement.
16         IT IS SO ORDERED.
17   DATED: October 6, 2021
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                                                    MARILYN L. HUFF, District Judge
19                                                  UNITED STATES DISTRICT COURT
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